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From:             Horwitz, Matthew (USAOHS)
To:               Michele Young
Cc:               Peter Toren; Koller, Kevin (USAOHS)
Subject:          RE: Extension Until June 6th
Date:             Monday, May 20, 2019 3:43:26 PM


Michelle,

Thanks for your email. A couple of small points. We calculate a 3-week extension would be June 7th,
rather than June 6th. But either date is fine with us.

The document you attach appears to be blank, with the exception of the title. Our understanding of
the local rules, however, is that you will need to prepare a motion, rather than a stipulation. You are
welcome to note that we do not oppose, or that we concur with your requested extension.

Thanks again!

Matt

Matthew J. Horwitz
Assistant United States Attorney
U.S. Attorney’s Office for the Southern District of Ohio
221 E. Fourth Street, Suite 400
Cincinnati, Ohio 45202
(513) 684-6823 (Telephone)
(513) 684-6972 (Fax)
Matthew.Horwitz@usdoj.gov


From: Michele Young <michele@michelelyounglaw.com>
Sent: Monday, May 20, 2019 3:35 PM
To: Horwitz, Matthew (USAOHS) <MHorwitz@usa.doj.gov>
Cc: Peter Toren <ptoren@petertoren.com>; Koller, Kevin (USAOHS) <KKoller@usa.doj.gov>
Subject: Extension Until June 6th

Dear Matthew,

Thank you for agreeing to a three-week extension of time to file in response to your Motion to
Dismiss.

By our calculation, the proposed new deadline will be on June 6th. The language in our
motion is the same as yours.

Here is a copy of the motion Peter and I will file today.

Thank you so much,

                                                                                           EXHIBIT C
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Michele
